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                   UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF PENNSYLVANIA


 IN RE GEISINGER SYSTEM                      Case No.: 4:21-CV-00196-MWB
 SERVICES AND EVANGELICAL
 COMMUNITY HOSPITAL                          Chief Judge Brann
 HEALTHCARE WORKERS
 ANTITRUST LITIGATION



                 NOTICE OF WITHDRAWAL OF COUNSEL

      PLEASE TAKE NOTICE THAT Alexander E. Barnett, James G. Dallal, and

Reid W. Gaa are no longer attorneys at the law firm of Cotchett, Pitre & McCarthy,

LLP and are hereby withdrawn as counsel for Plaintiffs. Mr. Barnett, Mr. Dallal, and

Mr. Gaa should be removed from the Court’s service list with respect to this action.

The law firm of Cotchett, Pitre & McCarthy, LLP continues to represent Plaintiffs

and should continue to be reflected as Co-Lead Counsel. All future correspondence

and papers in this action should continue to be directed to Adam J. Zapala and

Elizabeth T. Castillo.




Dated: November 4, 2024               Respectfully submitted,
                                      /s/ Adam J. Zapala
                                      Adam J. Zapala
                                      Elizabeth T. Castillo
                                      COTCHETT, PITRE & MCCARTHY,
                                      LLP
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                             Interim Co-Lead Counsel for Plaintiffs and
                             the Proposed Class




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                         CERTIFICATE OF SERVICE
      I certify that on November 4, 2024, the foregoing was filed electronically
using the CM/ECF System. Notice of this filing will be sent to all parties in this
case by operation of the Court’s electronic filing system. Parties may access this
filing through the Court’s system.


                                              /s/ Adam J. Zapala
                                              Adam J. Zapala




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